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                                                                        APR26^,
                                                                ^ES^rrE^
                  IN THE UNITED STATES DISTRICT COURT ^h_ Oepu^c^"
                 FOR THE NORTHERN DISTRICT OF GEORGIA cr"
                              ATLANTA DIVISION


   UNITED STATES OF AMERICA
                                                  Criminal Action No.
         V.

                                                  1:21-CR-143
   Victor Hill



                          Motion to Unseal Indictment

   The United States of America/ by Kurt R. Erskine/ Acting United States

Attorney/ and Brent A. Gray, Assistant United States Attorney for the Northern

District of Georgia/ moves this court to unseal the Indictment in the above-styled

case. In support of this motion/ the government informs this court that the

Defendant's arrest has been coordinated and that unsealing the indictment is

necessary to prepare for an initial appearance.

   WHEREFORE/ the government respectfully requests that Indictment be

unsealed.                        ^      ,r        n   ,   ..
                                                                 I/



                                         KURT R. ERSKINE
                                             Acting United States Attorney

                                       /^u^ °^-(.

                                      /s/Brent A. Gray
                                            Assistant United States Attorney
                                         Georgia Bar No. 155089
                                         Brent.Gray@usdoj. gov
